Case 19-18585-MAM Doc 202 Filed 09/14/20 Page 1of1

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

    
 

U.S. BANK
SO, DISTRICT

 
   
  

IN RE:
CASE NO.: 19-18585-MAM
MERIDIAN MARINA & YACHF CLU Chapter 11

OF PALM CITY, LLC EP 14 2020

Debtor.

BALLOT AND DEADLINRIROR BEE:

 

OR REJECTING PLAN

TO HAVE YOUR VOTE COUNT YOU MUST COMPLETE AND RETURN THIS BALLOT BY THE
DEADLINE INDICATED BELOW [AS SET PURSUANT TO LOCAL RULE 3018-1(B)]

The plan filed by Meridian Marina & Yacht Club of Palm City, LLC on _July 27, 2020 can be confirmed
by the court and thereby made binding on you if it is accepted by the holders of two-thirds in amount and
more than one-half in number of claims in each class and the holders of two-thirds in amount of equity
security interests in each class voting on the plan. In the event the requisite acceptances are not obtained,
the court may nevertheless confirm the plan if the court finds that the plan accords fair and equitable
treatment to the class rejecting it.

This ballot is for creditor (insert name) Che ar IE boo J MA for

the following type of claim placed in the indicated class in the indicated amount:

 

 

 

 

 

 

 

 

 

 

TYPE OF CLAIM CLASS IN PLAN AMOUNT OF CLAIM
O General Secured $
B® General Unsecured $ [Ss VG . 25
0 Bond Holder Amount of Bond/debenture $
D Equity Security Holder Number of Shares of Stock
The undersigned [Check One Box] C Accepts Hi Rejects

the plan for reorganization of the above-named debtor.
Signed:
PrintName: (“fates Lood aad
Address: FOAL SW. (Ale. TCKEKE ,
Phone: 772-283-674
Date: Ve Gy Ce 20

*&*AFILE THIS BALLOT ON OR BEFORE _ September 8, 2020 kk

fal Ch et SIt40

with: — Clerk of Bankruptcy Court
0 301 N. Miami Ave., Room 150, Miami, FL 33128
O 299 E. Broward Blvd., Room 112, Ft. Lauderdale, FL 33301
1515 North Flagler Drive, Room 801, West Palm Beach, FL 33401

If you have more than one type of claim against this debtor, separate ballots must
be filed and you should receive a ballot for each type of claim eligible to vote.
Contact the plan proponent regarding incorrect or insufficient ballot(s).

LE-33 (rev. 10/10/14)

 
